       Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 1 of 36




                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION
                                        3:21-cv-00930
                     Civil Action No.________________________

TINA R. RATCLIFF,

        Plaintiff,

v.

FIRST PREMIER BANK; CB INDIGO;
EQUIFAX INFORMATION SERVICES, LLC;
TRANS UNION, LLC; and EXPERIAN
INFORMATION SOLUTIONS, INC.,

     Defendant,
_____________________________________/

                                    COMPLAINT

        NOW COMES Tina R. Ratcliff (“Plaintiff”), by and through her undersigned

counsel, complaining of the Defendants, First Premier Bank, CB Indigo, Equifax

Information Services, LLC, Trans Union, LLC, and Experian Information Solutions,

Inc. (collectively, “Defendants”), as follows:

                            NATURE OF THE ACTION

     1. Plaintiff brings this action seeking redress for Defendants’ violations of the

Fair Credit Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681 et. seq.

                          JURISDICTION AND VENUE




                                           1
      Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 2 of 36




   2. Subject matter jurisdiction is conferred upon this Court pursuant to 28 U.S.C.

§§1331 and 1337 as the action arises under the laws of the United States.

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) because all of

the events or omissions giving rise to Plaintiff’s claims occurred within this judicial

district.



                                     PARTIES

   4. Plaintiff is a natural person, over 18-years-of-age, who at all times relevant

resided in the Pensacola, Florida.

   5. First Premier Bank (“First Premier”) maintains its principal place of business

at 3820 North Louise Avenue, Sioux Falls, South Dakota 57107.

   6. First Premier is a prominent banking institution that provides consumers with

various banking services, including mortgage and car loan financing.

   7. First Premier is a furnisher of information to the major credit reporting

agencies, including Equifax, Trans Union, and Experian.

   8. CB Indigo (“Indigo”) maintains its principal place of business in Beaverton,

Oregon.

   9. Indigo is a prominent furnisher of consumer credit cards.

   10. Indigo is a furnisher of information to the major credit reporting agencies,

including Equifax, Trans Union, and Experian.


                                          2
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 3 of 36




   11. Equifax Information Services, LLC (“Equifax”) is a Delaware limited liability

company with its principal place of business located in Atlanta, Georgia.

   12. Equifax is engaged in the business of compiling and maintaining files on

consumer for the purpose of furnishing consumer reports to third parties bearing on

a consumer’s creditworthiness, credit standing, or credit capacity.

   13. Equifax regularly does business in Florida.

   14. Trans Union, LLC (“Trans Union”) is a Delaware limited liability company

with its principal place of business located in Chicago, Illinois.

   15. Trans Union is engaged in the business of compiling and maintaining files on

consumers for the purpose of furnishing consumer reports to third parties bearing on

a consumer’s creditworthiness, credit standing, or credit capacity.

   16. Trans Union regularly does business in Florida.

   17. Experian Information Solutions, Inc. (“Experian”) is an Ohio corporation with

its principal place of business located in Costa Mesa, California.

   18. Experian is engaged in the business of compiling and maintaining files on

consumers for the purpose of furnishing consumer reports to third parties bearing on

a consumer’s credit worthiness, credit standing, or credit capacity.

   19. Experian regularly does business in Illinois.

                 FACTS SUPPORTING CAUSES OF ACTION




                                           3
         Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 4 of 36




      20. In or around February 2021, Plaintiff noticed several accounts reporting on

her Equifax, Trans Union, and Experian credit reports that did not belong to her,

namely a First Premier Bank account and a CB Indigo account.

      21. Realizing that she had become a victim of identity theft, Plaintiff filled out an

FTC Identity Theft Report.

      22. On February 9, 2021, Plaintiff sent a detailed dispute letter (“the Dispute”) to

Equifax, Trans Union, and Experian.1

      23. The Dispute stated, in pertinent part:

           i.      “I have been a victim of identity theft”

           ii.     “I have not authorize[d] or appl[ied] for the [First Premier Bank] or

       [Indigo] that is appearing on my credit report.”

           iii.    “[First Premier Bank] and [Indigo] need to be contacted for verification

       and then deleted, both the trade line and the inquiry.”

           iv.     “I would like you to investigate [these] accounts, forward a copy of my

       dispute and enclosures to the . . .creditors, and ask them to review and delete the

       errors they are currently reporting.”

           v.      “I ask that you information me if you choose not to forward my letters

       to the creditors listed in the letter. . .”




1
    The substantive language in the dispute letters was identical.

                                                        4
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 5 of 36




   24. Enclosed with these disputes, Plaintiff included the FTC Identity Theft

Report, a pay stub, and her social security card.

                                Post-Dispute Facts

   25. On February 12, 2021, Equifax received the Dispute.

   26. On February 24, 2021, Trans Union received the Dispute.

   27. On February 20, 2021, Experian received the Dispute.

   28. Upon information and belief, First Premier and Indigo both received notice of

Plaintiff’s disputes and all relevant information from TransUnion, Equifax, and

Experian within five days of TransUnion, Equifax, and Experian receiving

Plaintiff’s disputes. See 15 U.S. Code §1681i(a)(2).

   29. On or around March 10, 2021, Plaintiff received a letter from Indigo stating

that the account would be removed from all three credit reports.

   30. On March 31, 2021, Plaintiff pulled a fresh credit report from Equifax, Trans

Union, and Experian.

   31. Equifax was reporting on the First Premier Account as follows: (1) the

tradeline was updated on 3/29/21; (2) a balance on the account of $461; (3) the

account was open and past due; and (4) the account was disputed by the Plaintiff.

   32. Trans Union was reporting on the First Premier Account as follows: (1) the

tradeline was updated on 3/29/21; (2) a balance on the account of $461; (3) the

account was open and past due; and (4) the account was disputed by the Plaintiff.


                                          5
      Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 6 of 36




   33. Experian was reporting g on the First Premier Account as follows: (1) the

tradeline was updated on 3/29/21; (2) a balance on the account of $461; and (3) the

account was open and past due.

   34. Notably, Experian did not mark the account as disputed by Plaintiff.

   35. Additionally, all three credit bureaus – Equifax, Trans Union, and Experian –

were all still reporting hard inquiries for First Premier Bank.

   36. All three credit bureaus – Equifax, Trans Union, and Experian – have deleted

the Indigo account; however, Defendant Indigo failed to delete the hard inquiry

dated July 16, 2020, which still remains on all three credit reports and was a result

of identity theft.

                                 Plaintiff’s Damages

   37. As of today, the erroneous reporting of the First Premier and Indigo accounts

(collectively, the “subject accounts”) continues to paint a false and damaging image

of Plaintiff.

   38. As a result of Defendants’ inaccurate reporting of the subject accounts,

Plaintiff hired and paid a company to help fix her credit reports, thus expending time,

energy, and money to fix Defendant’s inaccurate reporting.

   39. Defendants’ reckless indifference relating to the inaccurate reporting of the

subject accounts has frustrated Plaintiff’s ability to control her credit score and her

ability to benefit from the credit history she has built over the years.


                                           6
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 7 of 36




   40. The inaccurate reporting of the subject accounts had significant adverse

effects on Plaintiff’s credit rating and her ability to obtain credit because it created a

false impression that Plaintiff is in default on the First Premier account, rendering

Plaintiff a high-risk consumer and damaging her creditworthiness.

   41. As a result of Defendants’ conduct, Plaintiff has suffered various types of

damages as set forth herein, including specifically: humiliation; the loss of credit

opportunity; loss of time disputing the inaccurate reporting; time expended

monitoring her credit files; money expended to hire a company to help fix her credit

reports; mental anguish; emotional distress; and costs associated with obtaining her

Equifax, Trans Union, and Experian credit reports.

   42. Due to Defendants’ refusal to correct the reporting of the subject accounts,

Plaintiff was forced to retain counsel to compel Defendants to correct the reporting

of the subject accounts.

   COUNT I - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                    (Against First Premier Bank)

   43. Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(b) and (c).

   44. Plaintiff is a “person” as defined by 15 U.S.C. §1681a(b).

   45. First Premier is a “furnisher of information” as defined by 15 U.S.C. §1681s-

2 and a “financial institution” as defined by 15 U.S.C. §1681a(t).




                                            7
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 8 of 36




   46. At all times relevant, the above-mentioned credit reports were “consumer

reports” as the term is defined by §1681a(d)(1).

   47. First Premier violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an

investigation with respect to the disputed information after receiving requests for an

investigation from Equifax, Trans Union, Experian, and Plaintiff.

   48. First Premier violated 15 U.S.C. §1681s-2(b)(1)(B) by failing to review all

relevant information, namely Plaintiff’s FTC Identity Theft Report, provided by

Equifax, Trans Union, Experian, and Plaintiff pursuant to 15 U.S.C. §1681i(a)(2).

   49. Had Premier reviewed the information provided by Equifax, Trans Union,

Experian, and Plaintiff, it would have discovered that Plaintiff was a victim of

identity theft and that she did not owe the First Premier account. Instead, Premier

wrongfully and erroneously confirmed its inaccurate reporting without conducting a

reasonable investigation.

   50. First Premier violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the

complete results of the investigation of Plaintiff’s disputes with Equifax, Trans

Union, and Experian.

   51. First Premier violated 15 U.S.C. §1681s-2(b)(1)(C)-(D) by failing to report

the results of its investigation to Equifax, Trans Union, and Experian after being put

on notice and discovering inaccurate, incomplete, and misleading information with

respect to the First Premier account.


                                          8
      Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 9 of 36




   52. First Premier violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to modify,

delete, or permanently block the inaccurate information from appearing and

reappearing in Plaintiff’s Equifax, Trans Union, and Experian credit reports.

   53. First Premier failed to conduct a reasonable investigation of its reporting of

the First Premier account or delete the inaccurate information from Plaintiff’s

Equifax, Trans Union, and Experian credit reports within 30 days of receiving notice

of Plaintiff’s disputes from Equifax, Trans Union, and Experian under 15 U.S.C.

§1681i(a)(1).

   54. First Premier violated 15 U.S.C. §1681s-2(a)(6)(B) by furnishing the disputed

information to Equifax, Trans Union, and Experian after it received notice that

Plaintiff is a victim of identity theft.

   55. First Premier violated 15 U.S.C. §1681s-2(a)(3) by failing to report the First

Premier account as disputed by Plaintiff to Experian.

   56. Despite the blatantly obvious errors in Plaintiff’s Equifax, Trans Union, and

Experian credit reports, and Plaintiff’s efforts to correct the errors, First Premier did

not correct the errors or the trade line to report accurately. Instead, First Premier

wrongfully furnished and re-reported the inaccurate and misleading information

after Plaintiff’s dispute to one or more third parties.




                                            9
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 10 of 36




   57. A reasonable investigation by First Premier would have confirmed the

veracity of Plaintiff’s disputes, yet the inaccurate information remains on Plaintiff’s

Equifax, Trans Union, and Experian credit reports.

   58. Had First Premier taken adequate steps to investigate Plaintiff’s valid disputes

or Equifax, Trans Union, and Experian’s requests for investigation, it would have

permanently corrected the erroneous and materially misleading information

regarding the First Premier account. Plaintiff provided all relevant information to

support her valid disputes in her requests for investigation, yet First Premier ignored

the supporting evidence and continued to report the inaccurate information regarding

the First premier account.

   59. Moreover, Plaintiff’s credit reports showed that First Premier accessed

Plaintiff’s credit file without a permissible purpose is a “consumer report” as defined

by §1681a(d)(1).

   60. The FCRA prohibits any person or entity from using or obtaining a consumer

credit report unless the user has a permissible purpose enumerated under the FCRA.

See 15 U.S.C. §1681b(f).

   61. First Premier violated 15 U.S.C. §1681b(f) by requesting and receiving

Plaintiff’s credit reports without Plaintiff’s authorization and without a permissible

purpose enumerated in the FCRA.




                                          10
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 11 of 36




   62. As stated above, Plaintiff does not have a current business relationship with

First Premier nor has Plaintiff applied for credit with First Premier as the subject

account was added to Plaintiff’s credit files as a result of identity theft.

   63. First Premier willfully and maliciously violated §1681b(f) when it accessed

Plaintiff’s credit report without a permissible purpose under the FCRA.

   64. In the alternative, First Premier negligently violated §1681b(f) by accessing

Plaintiff’s credit report without a permissible purpose under the FCRA.

   65. As described above, Plaintiff was harmed by First Premier conduct.

   66. By deviating from the standards established by the credit industry and the

FCRA, First Premier acted with reckless and willful disregard for its duty as a

furnisher to report accurate and complete consumer credit information to Equifax,

Trans Union, and Experian.

   WHEREFORE, Plaintiff respectfully prays this Honorable Court for the
following relief:
   a. Finding that the practices complained of herein are unlawful and violate the
      FCRA;
   b. Ordering First Premier to delete all of the inaccurate information from
      Plaintiff’s Equifax, Trans Union, and Experian credit reports;
   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, for
      the underlying FCRA violations pursuant to 15 U.S.C. §1681n and 15 U.S.C.
      §1681o;
   d. Awarding Plaintiff statutory damages of $1,000.00 for each of the underlying
      FCRA violations pursuant to 15 U.S.C. §1681n;
                                           11
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 12 of 36




   e. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
      for the underlying FCRA violations pursuant to 15 U.S.C. §1681n;
   f. Awarding Plaintiff her costs and reasonable attorney’s fees pursuant to 15
      U.S.C. § 1681n and 15 U.S.C. §1681o; and
   g. Awarding any other relief as this Honorable Court deems just and appropriate.

  COUNT II - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                      (Against CB Indigo)

   67. Indigo is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and

a “financial institution” as defined by 15 U.S.C. §1681a(t).

   68. At all times relevant, the above-mentioned credit reports were “consumer

reports” as the term is defined by §1681a(d)(1).

   69. Indigo violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an

investigation with respect to the disputed information after receiving requests for an

investigation from Equifax, Trans Union, Experian, and Plaintiff.

   70. Indigo violated 15 U.S.C. §1681s-2(b)(1)(B) by failing to review all relevant

information, namely Plaintiff’s FTC Identity Theft Report, provided by Equifax,

Trans Union, Experian, and Plaintiff pursuant to 15 U.S.C. §1681i(a)(2).

   71. Had Indigo reviewed the information provided by Equifax, Trans Union,

Experian, and Plaintiff, it would have discovered that Plaintiff was a victim of

identity theft and that she did not owe the Indigo account. Instead, Indigo wrongfully




                                         12
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 13 of 36




and erroneously failed to delete the hard inquiry from Plaintiff’s Equifax, Trans

Union, and Experian credit reports.

   72. Indigo violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the complete

results of the investigation of Plaintiff’s disputes with Equifax, Trans Union, and

Experian.

   73. Indigo violated 15 U.S.C. §1681s-2(b)(1)(C)-(D) by failing to report the

results of its investigation to Equifax, Trans Union, and Experian after being put on

notice and discovering inaccurate, incomplete, and misleading information with

respect to the Indigo account.

   74. Indigo violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to completely modify,

delete, or permanently block the inaccurate information from appearing and

reappearing in Plaintiff’s Equifax, Trans Union, and Experian credit reports.

   75. Indigo failed to conduct a reasonable investigation of its reporting of the

Indigo account or delete the inaccurate information from Plaintiff’s Equifax, Trans

Union, and Experian credit reports within 30 days of receiving notice of Plaintiff’s

disputes from Equifax, Trans Union, and Experian under 15 U.S.C. §1681i(a)(1).

   76. Indigo violated 15 U.S.C. §1681s-2(a)(6)(B) by furnishing the disputed

information to Equifax, Trans Union, and Experian after it received notice that

Plaintiff is a victim of identity theft.




                                           13
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 14 of 36




   77. Despite the blatantly obvious errors in Plaintiff’s Equifax, Trans Union, and

Experian credit reports, and Plaintiff’s efforts to correct the errors, Indigo Premier

did not correct the errors or the trade line to report accurately. Instead, Indigo

wrongfully furnished and re-reported the inaccurate and misleading information

after Plaintiff’s dispute to one or more third parties.

   78. A reasonable investigation by Indigo would have confirmed the veracity of

Plaintiff’s disputes, yet the inaccurate information remains on Plaintiff’s Equifax,

Trans Union, and Experian credit reports.

   79. Plaintiff’s credit reports showed that Indigo accessed Plaintiff’s credit file

without a permissible purpose is a “consumer report” as defined by §1681a(d)(1).

   80. The FCRA prohibits any person or entity from using or obtaining a consumer

credit report unless the user has a permissible purpose enumerated under the FCRA.

See 15 U.S.C. §1681b(f).

   81. Indigo violated 15 U.S.C. §1681b(f) by requesting and receiving Plaintiff’s

credit reports without Plaintiff’s authorization and without a permissible purpose

enumerated in the FCRA.

   82. As stated above, Plaintiff does not have a current business relationship with

Indigo nor has Plaintiff applied for credit with Indigo as the subject account was

added to Plaintiff’s credit files as a result of identity theft.




                                             14
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 15 of 36




   83. Indigo willfully and maliciously violated §1681b(f) when it accessed

Plaintiff’s credit report without a permissible purpose under the FCRA.

   84. In the alternative, Indigo negligently violated §1681b(f) by accessing

Plaintiff’s credit report without a permissible purpose under the FCRA.

   85. As described above, Plaintiff was harmed by Indigo’s conduct.

   86. Upon information and belief, Indigo knowingly and systematically obtains

consumer credit reports without a permissible purpose prescribed by the FCRA.

   87. Upon information and belief, Indigo does not maintain policies and

procedures to protect consumers’ privacy interests and prevent the unlawful access

of consumer credit reports.

   88. Indigo’s violations have deprived Plaintiff of the right to control her own

personal information, which is a major aspect of privacy that is protected by the

FCRA.

   89. Due to Indigo’s unlawful conduct, Plaintiff is entitled to actual damages,

statutory damages, and punitive damages.

   90. Had Indigo taken adequate steps to investigate Plaintiff’s valid disputes or

Equifax, Trans Union, and Experian’s requests for investigation, it would have

permanently corrected the erroneous and materially misleading information

regarding the Indigo account. Plaintiff provided all relevant information to support

her valid disputes in her requests for investigation, yet Indigo ignored the supporting


                                          15
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 16 of 36




evidence and continued to report the inaccurate information regarding the Indigo

account.

   91. By deviating from the standards established by the credit industry and the

FCRA, Indigo acted with reckless and willful disregard for its duty as a furnisher to

report accurate and complete consumer credit information to Equifax, Trans Union,

and Experian.

   WHEREFORE, Plaintiff respectfully prays this Honorable Court for the
following relief:
   a. Finding that the practices complained of herein are unlawful and violate the
      FCRA;
   b. Ordering Indigo to delete all of the inaccurate information from Plaintiff’s
      Equifax, Trans Union, and Experian credit reports;
   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, for
      the underlying FCRA violations pursuant to 15 U.S.C. §1681n and 15 U.S.C.
      §1681o;
   d. Awarding Plaintiff statutory damages of $1,000.00 for each of the underlying
      FCRA violations pursuant to 15 U.S.C. §1681n;
   e. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
      for the underlying FCRA violations pursuant to 15 U.S.C. §1681n;
   f. Awarding Plaintiff her costs and reasonable attorney’s fees pursuant to 15
      U.S.C. § 1681n and 15 U.S.C. §1681o; and
   g. Awarding any other relief as this Honorable Court deems just and appropriate.

 COUNT III – VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                       (Against Equifax)


                                         16
    Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 17 of 36




   92. Equifax is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).

   93. Equifax is a “consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

   94. At all times relevant, the above-mentioned credit reports were “consumer

reports” as that term is defined by §1681a(d).

   95. At all times relevant, Plaintiff was a “consumer” as the term is defined by 15

U.S.C. §1681a(c).

   96. The FCRA mandates that “[w]henever a consumer reporting agency prepares

a consumer report it shall follow reasonable procedures to assure maximum possible

accuracy of the information concerning the individual about whom the report

relates.” 15 U.S.C. § 1681e(b).

   97. The FCRA requires credit reporting agencies to implement procedures and

systems to promote accurate credit reporting.

   98. If a consumer notifies a credit reporting agency of a dispute concerning the

accuracy of any item of credit information, the FCRA requires the credit reporting

agency to reinvestigate free of charge and record the current status of the disputed

information, or delete the item within 30 days of receiving the dispute. 15 U.S.C.

§1681i(a)(1)(A).




                                         17
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 18 of 36




   99. Plaintiff provided Equifax with all relevant information and documentation

in her disputes to support her contention that the First Premier and Indigo accounts

were fraudulently opened.

   100. Upon information and belief, Equifax prepared Plaintiff’s credit reports

containing inaccurate, incomplete, and materially misleading information by

reporting the First Premier account with an outstanding balance and a past due status,

when in fact Plaintiff was not liable for the First Premier account as it was opened

fraudulently.

   101. Upon information and belief, Equifax prepared Plaintiff’s credit reports

containing inaccurate, incomplete, and materially misleading information by

continuing to report the hard inquiries for both First Premier and Indigo, when in

fact Plaintiff was not liable for the subject accounts as they were opened

fraudulently.

   102. A simple review of the relevant documents submitted by Plaintiff would have

confirmed that Plaintiff did not open the subject accounts and that Plaintiff was a

victim of identity theft.

   103. Equifax failed to conduct any meaningful investigation into Plaintiff’s

disputes. Instead, it continued to blindly report the false information provided to it

by First Premier and Indigo.




                                         18
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 19 of 36




   104. Equifax violated 15 U.S.C. §1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in preparation of the

consumer reports it furnished and refurnished regarding Plaintiff. Upon information

and belief, Equifax prepared patently false, incomplete, and materially misleading

consumer reports concerning Plaintiff.

   105. Equifax violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable

investigation to determine whether the disputed information was accurate and to

subsequently delete or correct the information in Plaintiff’s credit file.

   106. Had Equifax taken any meaningful steps to investigate Plaintiff’s valid

dispute, it would have determined that Plaintiff was a victim of identity theft and

that the subject accounts were fraudulently opened.

   107. Upon information and belief, Equifax took no steps to determine whether the

information provided by First Premier or Indigo was accurate or reliable.

   108. At very minimum, Equifax could have requested that First Premier or Indigo

provide proof that Plaintiff opened the subject accounts as Plaintiff specifically

requested in her dispute. Instead, Equifax continued to recklessly report false and

unreliable information regarding the subject accounts.

   109. Equifax violated 15 U.S.C. §1681i(a)(2) by failing to provide adequate

notification of Plaintiff’s disputes to First Premier. Upon information and belief,




                                           19
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 20 of 36




Equifax also failed to include all relevant information as part of the notice to First

Premier regarding Plaintiff’s dispute that Equifax received from Plaintiff.

   110. Equifax violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff with regard to the subject

accounts.

   111. Equifax violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the

inaccurate information that was the subject of Plaintiff’s dispute.

   112. Equifax violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed

information without certification from First Premier or Indigo that the information

was complete and accurate, and without sending notice of re-reporting to Plaintiff.

   113. Equifax violated 15 U.S.C. §1681c-2(a) by failing to block the information

pertaining to the subject accounts within 4 days of Plaintiff notifying Equifax of the

identity theft.

   114. Equifax violated 15 U.S.C. §1681c-2(b) by failing to promptly notify First

Premier and Indigo that the disputed information may be a result of identity theft

and that a block of the disputed information is mandated by 15 U.S.C. §1681c-2(a).

   115. Equifax violated 15 U.S.C. §1681c-2(c) by failing to promptly notify

Plaintiff within the timeframe prescribed by 15 U.S.C. §1681i(a)(5)(B) that Equifax

has declined to block the disputed information.




                                          20
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 21 of 36




   116. Equifax knew that the inaccurate reporting of the subject accounts as

belonging to Plaintiff would have a significant adverse effect on Plaintiff’s credit

worthiness and ability to obtain credit.

   117. The FCRA requires that the credit reporting industry implement procedures

and systems to promote accurate credit reporting.

   118. Despite actual knowledge that Plaintiff’s credit file contained erroneous

information, Equifax readily furnished Plaintiff’s inaccurate and misleading reports

to one or more third parties, thereby misrepresenting facts about Plaintiff and

Plaintiff’s creditworthiness.

   119. By deviating from the standards established by the credit reporting industry

and the FCRA, Equifax acted with a reckless disregard for its duties to report

accurate and complete consumer credit information.

   120. It is Equifax’s regular business practice to repeatedly report disputed

information without taking the required investigatory steps to meaningfully verify

such information as accurate.

   121. Equifax’s non-compliance with the requirements of the FCRA is indicative

of the reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s

credit file and reporting her credit information accurately.

   122. Equifax acted reprehensively and carelessly by repeatedly reporting the

subject accounts inaccurately when it knew or should have known that First Premier


                                           21
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 22 of 36




and Indigo were transmitting false information regarding the subject debts to

Equifax.

   123. Equifax has exhibited a pattern of refusing to correct errors in consumer

credit files despite being on notice of patently false and materially misleading

information contained in such files, ultimately valuing its own bottom line above its

grave responsibility to report accurate data.

   124. As stated above, Plaintiff was significantly harmed by Equifax’s conduct.

WHEREFORE, Plaintiff respectfully pray this Honorable Court for the following
relief:
   a. Finding that the practices complained of herein are unlawful and violate the
          FCRA;
   b. Ordering Equifax to delete all of the inaccurate information pertaining to the
          subject accounts from Plaintiff’s credit file;
   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, for
          the underlying FCRA violations pursuant to 15 U.S.C. §1681n and 15 U.S.C.
          §1681o;
   d. Awarding Plaintiff statutory damages of $1,000.00 for each of the underlying
          FCRA violations pursuant to 15 U.S.C. §1681n;
   e. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
          for the underlying FCRA violations pursuant to 15 U.S.C. §1681n;
   f. Awarding Plaintiff her costs and reasonable attorney’s fees pursuant to 15
          U.S.C. § 1681n and 15 U.S.C. §1681o; and
   g. Awarding any other relief as this Honorable Court deems just and appropriate.

  COUNT IV – VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                              22
    Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 23 of 36




                                  (against Experian)

   125. Experian is a “consumer reporting agency” as defined by 15 U.S.C.

§1681a(f).

   126. Experian is a “consumer reporting agency that compiles and maintains files

on consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

   127. At all times relevant, the above-mentioned credit reports were “consumer

reports” as that term is defined by §1681a(d).

   128. At all times relevant, Plaintiff was a “consumer” as the term is defined by 15

U.S.C. §1681a(c).

   129. The FCRA mandates that “[w]henever a consumer reporting agency prepares

a consumer report it shall follow reasonable procedures to assure maximum possible

accuracy of the information concerning the individual about whom the report

relates.” 15 U.S.C. § 1681e(b).

   130. The FCRA requires credit reporting agencies to implement procedures and

systems to promote accurate credit reporting.

   131. If a consumer notifies a credit reporting agency of a dispute concerning the

accuracy of any item of credit information, the FCRA requires the credit reporting

agency to reinvestigate free of charge and record the current status of the disputed

information, or delete the item within 30 days of receiving the dispute. 15 U.S.C.

§1681i(a)(1)(A).

                                          23
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 24 of 36




   132. Plaintiff provided Experian with all relevant information and documentation

in her disputes to support her contention that the First Premier and Indigo accounts

were fraudulently opened.

   133. Upon information and belief, Experian prepared Plaintiff’s credit reports

containing inaccurate, incomplete, and materially misleading information by

reporting the First Premier account with an outstanding balance and a past due status,

when in fact Plaintiff was not liable for the First Premier account as it was opened

fraudulently.

   134. Upon information and belief, Experian prepared Plaintiff’s credit reports

containing inaccurate, incomplete, and materially misleading information by

continuing to report the hard inquiries for both First Premier and Indigo, when in

fact Plaintiff was not liable for the subject accounts as they were opened

fraudulently.

   135. A simple review of the relevant documents submitted by Plaintiff would have

confirmed that Plaintiff did not open the subject accounts and that Plaintiff was a

victim of identity theft.

   136. Experian failed to conduct any meaningful investigation into Plaintiff’s

disputes. Instead, it continued to blindly report the false information provided to it

by First Premier and Indigo.




                                         24
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 25 of 36




   137. Experian violated 15 U.S.C. §1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in preparation of the

consumer reports it furnished and refurnished regarding Plaintiff. Upon information

and belief, Experian prepared patently false, incomplete, and materially misleading

consumer reports concerning Plaintiff.

   138. Experian violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable

investigation to determine whether the disputed information was accurate and to

subsequently delete or correct the information in Plaintiff’s credit file.

   139. Had Experian taken any meaningful steps to investigate Plaintiff’s valid

dispute, it would have determined that Plaintiff was a victim of identity theft and

that the subject accounts were fraudulently opened.

   140. Upon information and belief, Experian took no steps to determine whether

the information provided by First Premier or Indigo was accurate or reliable.

   141. At very minimum, Experian could have requested that First Premier or

Indigo provide proof that Plaintiff opened the subject accounts as Plaintiff

specifically requested in her dispute. Instead, Experian continued to recklessly report

false and unreliable information regarding the subject accounts.

   142. Experian violated 15 U.S.C. §1681i(a)(2) by failing to provide adequate

notification of Plaintiff’s disputes to First Premier. Upon information and belief,




                                           25
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 26 of 36




Experian also failed to include all relevant information as part of the notice to First

Premier regarding Plaintiff’s dispute that Experian received from Plaintiff.

   143. Experian violated 15 U.S.C. §1681i(a)(4) by failing to review and consider

all relevant information that it received from Plaintiff with regard to the subject

accounts.

   144. Experian violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the

inaccurate information that was the subject of Plaintiff’s dispute.

   145. Experian violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed

information without certification from First Premier or Indigo that the information

was complete and accurate, and without sending notice of re-reporting to Plaintiff.

   146. Experian violated 15 U.S.C. §1681(c)(f) by failing to notate that Plaintiff

disputed the reporting of the First Premier account. Experian is required to notate

each account that a consumer disputes in each consumer report that includes the

disputed information.

   147. Experian violated 15 U.S.C. §1681c-2(a) by failing to block the information

pertaining to the subject accounts within 4 days of Plaintiff notifying Experian of

the identity theft.

   148. Experian violated 15 U.S.C. §1681c-2(b) by failing to promptly notify First

Premier and Indigo that the disputed information may be a result of identity theft

and that a block of the disputed information is mandated by 15 U.S.C. §1681c-2(a).


                                          26
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 27 of 36




   149. Experian violated 15 U.S.C. §1681c-2(c) by failing to promptly notify

Plaintiff within the timeframe prescribed by 15 U.S.C. §1681i(a)(5)(B) that Experian

has declined to block the disputed information.

   150. Experian knew that the inaccurate reporting of the subject accounts as

belonging to Plaintiff would have a significant adverse effect on Plaintiff’s credit

worthiness and ability to obtain credit.

   151. The FCRA requires that the credit reporting industry implement procedures

and systems to promote accurate credit reporting.

   152. Despite actual knowledge that Plaintiff’s credit file contained erroneous

information, Experian readily furnished Plaintiff’s inaccurate and misleading reports

to one or more third parties, thereby misrepresenting facts about Plaintiff and

Plaintiff’s creditworthiness.

   153. By deviating from the standards established by the credit reporting industry

and the FCRA, Experian acted with a reckless disregard for its duties to report

accurate and complete consumer credit information.

   154. It is Experian’s regular business practice to repeatedly report disputed

information without taking the required investigatory steps to meaningfully verify

such information as accurate.




                                           27
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 28 of 36




   155. Experian’s non-compliance with the requirements of the FCRA is indicative

of the reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s

credit file and reporting her credit information accurately.

   156. Experian acted reprehensively and carelessly by repeatedly reporting the

subject accounts inaccurately when it knew or should have known that First Premier

and Indigo were transmitting false information regarding the subject debts to

Experian.

   157. Experian has exhibited a pattern of refusing to correct errors in consumer

credit files despite being on notice of patently false and materially misleading

information contained in such files, ultimately valuing its own bottom line above its

grave responsibility to report accurate data.

   158. As stated above, Plaintiff was significantly harmed by Experian’s conduct.




WHEREFORE, Plaintiff respectfully pray this Honorable Court for the following
relief:
   a. Finding that the practices complained of herein are unlawful and violate the
          FCRA;
   b. Ordering Experian to delete all of the inaccurate information pertaining to the
          subject accounts from Plaintiff’s credit file;




                                              28
    Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 29 of 36




   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, for
      the underlying FCRA violations pursuant to 15 U.S.C. §1681n and 15 U.S.C.
      §1681o;
   d. Awarding Plaintiff statutory damages of $1,000.00 for each of the underlying
      FCRA violations pursuant to 15 U.S.C. §1681n;
   e. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
      for the underlying FCRA violations pursuant to 15 U.S.C. §1681n;
   f. Awarding Plaintiff her costs and reasonable attorney’s fees pursuant to 15
      U.S.C. § 1681n and 15 U.S.C. §1681o; and
   g. Awarding any other relief as this Honorable Court deems just and appropriate.


  COUNT V – VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                     (Against Transunion)

   159. Trans Union is a “consumer reporting agency” as defined by 15 U.S.C.

§1681a(f).

   160. Trans Union is a “consumer reporting agency that compiles and maintains

files on consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

   161. At all times relevant, the above-mentioned credit reports were “consumer

reports” as that term is defined by §1681a(d).

   162. At all times relevant, Plaintiff was a “consumer” as the term is defined by 15

U.S.C. §1681a(c).

   163. The FCRA mandates that “[w]henever a consumer reporting agency prepares

a consumer report it shall follow reasonable procedures to assure maximum possible


                                         29
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 30 of 36




accuracy of the information concerning the individual about whom the report

relates.” 15 U.S.C. § 1681e(b).

   164. The FCRA requires credit reporting agencies to implement procedures and

systems to promote accurate credit reporting.

   165. If a consumer notifies a credit reporting agency of a dispute concerning the

accuracy of any item of credit information, the FCRA requires the credit reporting

agency to reinvestigate free of charge and record the current status of the disputed

information, or delete the item within 30 days of receiving the dispute. 15 U.S.C.

§1681i(a)(1)(A).

   166. Plaintiff provided Trans Union with all relevant information and

documentation in her disputes to support her contention that the First Premier and

Indigo accounts were fraudulently opened.

   167. Upon information and belief, Trans Union prepared Plaintiff’s credit reports

containing inaccurate, incomplete, and materially misleading information by

reporting the First Premier account with an outstanding balance and a past due status,

when in fact Plaintiff was not liable for the First Premier account as it was opened

fraudulently.

   168. Upon information and belief, Trans Union prepared Plaintiff’s credit reports

containing inaccurate, incomplete, and materially misleading information by

continuing to report the hard inquiries for both First Premier and Indigo, when in


                                         30
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 31 of 36




fact Plaintiff was not liable for the subject accounts as they were opened

fraudulently.

   169. A simple review of the relevant documents submitted by Plaintiff would have

confirmed that Plaintiff did not open the subject accounts and that Plaintiff was a

victim of identity theft.

   170. Trans Union failed to conduct any meaningful investigation into Plaintiff’s

disputes. Instead, it continued to blindly report the false information provided to it

by First Premier and Indigo.

   171. Trans Union violated 15 U.S.C. §1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in preparation of the

consumer reports it furnished and refurnished regarding Plaintiff. Upon information

and belief, Trans Union prepared patently false, incomplete, and materially

misleading consumer reports concerning Plaintiff.

   172. Trans Union violated 15 U.S.C. §1681i(a)(1) by failing to conduct a

reasonable investigation to determine whether the disputed information was accurate

and to subsequently delete or correct the information in Plaintiff’s credit file.

   173. Had Trans Union taken any meaningful steps to investigate Plaintiff’s valid

dispute, it would have determined that Plaintiff was a victim of identity theft and

that the subject accounts were fraudulently opened.




                                          31
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 32 of 36




   174. Upon information and belief, Trans Union took no steps to determine

whether the information provided by First Premier or Indigo was accurate or reliable.

   175. At very minimum, Trans Union could have requested that First Premier or

Indigo provide proof that Plaintiff opened the subject accounts as Plaintiff

specifically requested in her dispute. Instead, Trans Union continued to recklessly

report false and unreliable information regarding the subject accounts.

   176. Trans Union violated 15 U.S.C. §1681i(a)(2) by failing to provide adequate

notification of Plaintiff’s disputes to First Premier. Upon information and belief,

Trans Union also failed to include all relevant information as part of the notice to

First Premier regarding Plaintiff’s dispute that Trans Union received from Plaintiff.

   177. Trans Union violated 15 U.S.C. §1681i(a)(4) by failing to review and

consider all relevant information that it received from Plaintiff with regard to the

subject accounts.

   178. Trans Union violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify

the inaccurate information that was the subject of Plaintiff’s dispute.

   179. Trans Union violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed

information without certification from First Premier or Indigo that the information

was complete and accurate, and without sending notice of re-reporting to Plaintiff.




                                          32
        Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 33 of 36




   180. Trans Union violated 15 U.S.C. §1681c-2(a) by failing to block the

information pertaining to the subject accounts within 4 days of Plaintiff notifying

Trans Union of the identity theft.

   181. Trans Union violated 15 U.S.C. §1681c-2(b) by failing to promptly notify

First Premier and Indigo that the disputed information may be a result of identity

theft and that a block of the disputed information is mandated by 15 U.S.C. §1681c-

2(a).

   182. Trans Union violated 15 U.S.C. §1681c-2(c) by failing to promptly notify

Plaintiff within the timeframe prescribed by 15 U.S.C. §1681i(a)(5)(B) that Trans

Union has declined to block the disputed information.

   183. Trans Union knew that the inaccurate reporting of the subject accounts as

belonging to Plaintiff would have a significant adverse effect on Plaintiff’s credit

worthiness and ability to obtain credit.

   184. The FCRA requires that the credit reporting industry implement procedures

and systems to promote accurate credit reporting.

   185. Despite actual knowledge that Plaintiff’s credit file contained erroneous

information, Trans Union readily furnished Plaintiff’s inaccurate and misleading

reports to one or more third parties, thereby misrepresenting facts about Plaintiff and

Plaintiff’s creditworthiness.




                                           33
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 34 of 36




   186. By deviating from the standards established by the credit reporting industry

and the FCRA, Trans Union acted with a reckless disregard for its duties to report

accurate and complete consumer credit information.

   187. It is Trans Union’s regular business practice to repeatedly report disputed

information without taking the required investigatory steps to meaningfully verify

such information as accurate.

   188. Trans Union’s non-compliance with the requirements of the FCRA is

indicative of the reckless, willful, and wanton nature of its conduct in maintaining

Plaintiff’s credit file and reporting her credit information accurately.

   189. Trans Union acted reprehensively and carelessly by repeatedly reporting the

subject accounts inaccurately when it knew or should have known that First Premier

and Indigo were transmitting false information regarding the subject debts to Trans

Union.

   190. Trans Union has exhibited a pattern of refusing to correct errors in consumer

credit files despite being on notice of patently false and materially misleading

information contained in such files, ultimately valuing its own bottom line above its

grave responsibility to report accurate data.

   191. As stated above, Plaintiff was significantly harmed by Trans Union’s

conduct.




                                          34
     Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 35 of 36




WHEREFORE, Plaintiff respectfully pray this Honorable Court for the following
relief:
   a. Finding that the practices complained of herein are unlawful and violate the
          FCRA;
   b. Ordering Trans Union to delete all of the inaccurate information pertaining to
          the subject accounts from Plaintiff’s credit file;
   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, for
          the underlying FCRA violations pursuant to 15 U.S.C. §1681n and 15 U.S.C.
          §1681o;
   d. Awarding Plaintiff statutory damages of $1,000.00 for each of the underlying
          FCRA violations pursuant to 15 U.S.C. §1681n;
   e. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
          for the underlying FCRA violations pursuant to 15 U.S.C. §1681n;
   f. Awarding Plaintiff her costs and reasonable attorney’s fees pursuant to 15
          U.S.C. § 1681n and 15 U.S.C. §1681o; and
   g. Awarding any other relief as this Honorable Court deems just and appropriate.

                             DEMAND FOR JURY TRIAL

          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

Dated: July 29, 2021                                     Respectfully Submitted,

                                                   TINA RATCLIFF

                                                   By: /s/ Alexander J. Taylor
                                                   Alexander J. Taylor, Of Counsel
                                                   Florida Bar No. 1013947
                                                   SULAIMAN LAW GROUP, LTD.
                                                   2500 South Highland Avenue
                                                   Suite 200
                                              35
Case 3:21-cv-00930-TKW-EMT Document 1 Filed 07/29/21 Page 36 of 36




                                     Lombard, Illinois 60148
                                     +1 630-575-8181
                                     ataylor@sulaimanlaw.com




                                36
